          Case 1:18-cr-00276-CCB Document 6 Filed 05/10/18 Page 1 of 1


                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                        *
                                                *
                v.                              *           Criminal No. CCB 18-0276
                                                *
DARRYL DE SOUSA,                                *
                                                *
                      Defendant                 *
                                                *
                                           ...00000 ...


                                            ORDER

       Upon consideration of the Government's Motion to Unseal the Information, it is this 10th

day of May, 2018, by the United States District Court for the District of Maryland, hereby

ORDERED that:


       The Information filed herein shall no longer be maintained under seal.




                                                     ~/~--
                                                    IThe Honotable Beth P. Gesner
                                                     United States Magistrate Judge
